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The JS-44 civil¥e6ver sheet and exnformation contained herein neither replace nor supplement the filing and serviph f plifadi cother paperSas required
by law, 1 ox by ae i les of court. This form, approved by the Judicial Conference of the United Sta equired fof the
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e of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE R N

L (a) Ply DEFENDANTS
See Attached

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(b) County of Residence of First Listed Plaintiff _ Dallas County of Residence of First Listed
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(¢) Attomey’s (Firm Name, Address, and Telephone Number) Attomeys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES eiace an “X” in One Box for Plainuff
(For Diversity Cases Only) and One Box for Defendant)
DEF DEF
O 1 US. Government 0 3. Federal Question Citizen of This State x 1 1 Incorporated or Principal Place O 4 O14
Plaintiff (U.S. Government Not a Party) of Business In This State
2 U.S. Government x 4 Diversity Citizen of Another State 0 2 2 Incorporated and Principal Place O 5 x 5
Defendant (Indicate Citizenship of Parties of Business In Another State
in Item III)
Citizen or Subjectofa 3 03 Foreign Nation O6 O86
Foreign Country

IV. NATURE OF SUIT _(Place an “X” in One Box Only)

CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
OD 110 Insurance PERSONAL INJURY PERSONAL INJURY |( 610 Agnculture ) 422 Appeal 28 USC 158 O1 400 State Reapportionment
QO 120 Marine Q 310 Airplane O 362 Personal Injury-— (J 620 Other Food & Drug O 410 Antitrust
O 130 Miller Act O 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure |C 423 Withdrawal O 430 Banks and Banking
O 140 Negotiable Instrument Liability x 365 Personal Injury — of Property 21 USC 28 USC 157 O 450 Commerce/ICC Rates/etc.
O 150 Recovery of Overpayment] 320 Assault, Libel & Product Liability O 630 Liquor Laws © 460 Deportation
& Enforcement of Judgment Slander € 368 Asbestos Personal O 640 R.R & Truck PROPERTY RIGHTS © 470 Racketeer Influenced and
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(Excl Veterans) () 345 Marine Product (] 370 Other Fraud O 690 Other Exchange
O 153 Recovery of Overpayment Liability O 371 Truth in Lending O 875 Customer Challenge
of Veteran’s Benefits O 350 Motor Vehicle 380 Other Personal LABOR SOCIAL SECURITY 12 USC 3410
O 160 Stockholders’ Suits O 355 Motor Vehicle Property Damage . O 891 Agricultural Acts
O 190 Other Contract Product Liability O 385 Property Damage 710 mar Labor Standards 5 Black Lune 23) 1 892 Economic Stabilization Act
(2) 195 Contract Product Liability | 360 Other Personal injury Product Liability 720 Labor/Mgmt Relations] 863 DIWC/DIWW (405(g)) 5 Enero Allocation Act
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O 230 Rent Lease & Ejectment |{1 443 Housing/ Habeas Corpus: Cl 870 Taxes (U.S. Plaintiff Justice
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O 245 Tort Product Liability O 444 Welfare 0) 535 Death Penalty State Statutes
O 290 All Other Real Property ]() 440 Other Civil Rights |) 540 Mandamus & Other |O 791 Empl. Ret. Inc. 0 871 IRS—Third Party (1 890 Other Statutory Actions
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(PLACE AN “X” IN ONE BOX ONLY) Appeal to
V. ORIGIN Transferred from District
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Proceeding State Court Appellate Court Reopened Litigation Judgment

(Cite the U.S. Civil Statute under which you are filing and write brief statement of cause.
VI. CAUSE OF ACTION Do not cite junsdictional statutes unless diversity.)
28 US.C Section 1332 (Diversity of citizenship between citizens of different states, where matter in controversy exceeds $75,000); removal from state court as permitted by 28 U.S.C. Section 1446.

VII. REQUESTED IN {1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: x Yes No
VII. RELATED CASE(S) sions)
IF ANY JUDGE DOCKET NUMBER
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Case 3:08-cv-0224 0 Document 1 Filed 09/30/03 &. 2 of 37

LIST OF PARTIES AND ATTORNEYS

I. (a) Plaintiffs

Lisa A. Davis, Betty J. Glidewell, Sheryl D. Jones, and Sally E. Palmer
Defendants

Wyeth, Dr. Geoffrey Jubang, Dr. James D. Hale, and Dr. George Cole

I. (c) LIST OF ATTORNEYS

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PagelD 2
Case 3:08-cv-02244m Document 1 Filed 09/30/03 ®. 30f 37 PagelD 3

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Unknown at this time.
Case 3:08-cv-02244e Document 1 Filed 09/30/03 &. 4of 37 PagelD 4

rh United States District Court
Cel ee Northern District of Texas
\oAN* Dallas Division

Supplemental Civil Cover Sheet for Cases Removed
From State Court

on

This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S.
District Clerk’s Office. Additional sheets may be used as necessary.

1. State Court Information: f | |
Pow,
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Please identify the court from which the case is being removed dnd specify the number |! |
assigned to the case in that court. oO! pon ead
Ro SS EX |
Court Case Number

192nd Judicial District Court of Dallas County, Texas 03-5278

2. Style of Case:

Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s),
Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
party type. Also, please list the attorney(s) of record for each party named and include
their bar number, firm name, correct mailing address, and phone number (including area
code.)

Cause No. 03-5278; Lisa A. Davis, Betty J. Glidewell, Sheryl D. Jones, and Sally E.
Palmer v. Wyeth, Dr. Geoffrey Jubang, Dr. James D. Hale, and Dr. George Cole, In the
192nd Judicial District Court of Dallas County, Texas
Case 3:03-cv-022 aD Document 1 Filed 09/30/03 e. 5o0f 37 PagelD 5

Party and Party Type Attorney(s)

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Jones, and Sally E. Palmer State Bar No. 06094450

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(214) 220-7716 [Fax]

Case 3:03-cv-022 aD Document 1 Filed 09/30/03 a. 6 of 37 PagelD 6

All Other Defendants Unknown at this time

wr

Jury Demand:
Was a Jury Demand made in State Court? X Yes No

If “Yes,” by which party and on what date?

Party Date
Plaintiffs May 29, 2003
Defendant Wyeth September 25, 2003
4. Answer:
Was an Answer made in State Court? _X_ Yes No

If “Yes,” by which party and on what date?

Party Date
Defendant Wyeth September 25, 2003
5. Unserved Parties:

The following parties have not been served at the time this case was removed:

Party Reason(s) for No Service

Wyeth has no knowledge at this time of the status of service of other parties.

6. Nonsuited, Dismissed or Terminated Parties:

Please indicate any changes from the style on the State Court papers and the reason for
that change:

Party Date

N/A

7. Claims of the Parties:

Case 3:03-cv-022 Mae Document 1 Filed 09/30/03 2. 7 of 37 PagelD 7

The filing party submits the following summary of the remaining claims of each party in
this litigation:

Party Date
N/A

Signature of Attorney

pate: 4 (2A (03 * DussS
Case 3:03-cv-0224gp Document 1 Filed 09/30/03 @- 8 of 37 PagelD 8

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(G\N IM Yee IN THE UNITED STATES DISTRICT COURT
OR FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
LISA A. DAVIS, BETTY J. §
GLIDEWELL, SHERYL D. JONES, §
AND SALLY E. PALMER, § CIVIL ACTION NO.
§
Plaintiff, § JURY REQDBSMEDCOUKT
§ . NORTHERN DISTRICT OF TEXAS
v. § Sve — FILED
§
WYETH and § SEP 3 0 2003
DR. GEOFFREY JUBANG, DR. JAMES § oe
D. HALE, AND DR. GEORGE COLE, : CLERK,US.DISTRICT CO"?T
“Fos B
Defendants. ee OY Deputy

DEFENDANT WYETH’S NOTICE OF REMOVAL

TO: The United States District Court for the Northern District of Texas, Dallas Division.

NOW COMES Wyeth, Defendant in the above-styled cause, and files this Notice of
Removal of said cause to the United States District Court for the Northern District of Texas,
Dallas Division, and would respectfully show the Court as follows:

I,
Introduction

On May 29, 2003, Plaintiffs Lisa A. Davis, Betty J. Glidewell, Sheryl D. Jones, and Sally
E, Palmer, filed suit against Wyeth in the 192nd Judicial District of Dallas County, Texas, Cause
No. 03-05278. Plaintiffs also named as defendants in this action Dr. Geoffrey Jubang, Dr. James
D. Hale, and Dr. George Cole. Copies of all process, pleadings and orders filed in the state court
are attached hereto.

Claims involving the diet drugs Pondimin and Redux (distributed by Wyeth) were
consolidated in multi-district litigation proceedings in the United States District Court for the
Eastern District of Pennsylvania (the “MDL Court”). Jn re: Diet Drugs (Phentermine,

Fenfluramine, Dexfenfluramine) Products Liability Litigation, MDL No. 1203. In August 2000,

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the MDL Court approved a nationwide class action settlement (the “Settlement Agreement’),
which included Plaintiff's claims. See Brown v. American Home Products Corporation, In re:
Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Products Liability, 2000 WL
1222042 (E.D. Pa. Aug. 20, 2000). The Settlement Agreement provides an extensive array of
benefits to class members and several “opt-out” provisions. Certain members of the nationwide
settlement class can exercise a so-called “Intermediate Opt-Out” right to pursue claims in court,
subject to certain limitations prescribed in the Settlement Agreement. Plaintiffs purport to meet
the requirements for an Intermediate Opt-Out and have filed Plaintiffs' underlying lawsuit in
Texas state court.

This action is one in which this Court has original subject matter jurisdiction under the
provisions of 28 U.S.C. § 1332, and is one which may be removed to this Court by Wyeth
pursuant to the provisions of 28 U.S.C. § 1441(b), in that, excluding the fraudulently joined
defendant, it is a civil action between citizens of different states, and the matter in controversy
exceeds the sum or value of $75,000, exclusive of interest and costs.

i.
Diversity of Citizenship

Plaintiffs are citizens of the State of Texas.

Wyeth is a Delaware Corporation with its principal place of business in New Jersey.

Dr. Geoffrey Jubang, Dr. James D. Hale, and Dr. George Cole are Texas citizens;
however, Drs. Jubang, Hale and Cole are fraudulently joined and thus their citizenship may be
disregarded. A non-diverse defendant is deemed to be fraudulently joined, and thus may be
disregarded for purposes of determining diversity jurisdiction, when there is no reasonable
possibility that the plaintiff can establish a cause of action against the non-diverse party under

state law. Badon v. RJR Nabisco Inc., 236 F.3d 282 (5" Cir. 2000). There is no reasonable
Case 3:03-cv-0224A Document 1 Filed 09/30/03 P@ 10 of 37 PagelD 10

possibility that Plaintiffs can establish a cause of action against Drs. Jubang, Hale and Cole in

this case.

A. DRS. JUBANG, HALE AND COLE ARE FRAUDULENTLY JOINED BECAUSE
THERE IS NO REASONABLE POSSIBILITY THAT PLAINTIFFS CAN
ESTABLISH A CLAIM AGAINST DRS. JUBANG, HALE AND COLE
Although the standard for fraudulent joinder is a heavy one, it was not meant to sanction

plaintiffs’ attempts to disallow federal jurisdiction in any and all cases. See Wecker v. Nat'l

Enameling & Stamping Co., 204 U.S. 176, 186 (1907) (“The Federal courts should not sanction

devices intended to prevent a removal to a Federal court where one has that right.”); see also

McKinney v. Bd. Of Md. Cmty. College, 955 F.2d 924, 928 (4™ Cir. 1992) (“Congress created the

removal process to protect defendants. It did not extend such protection with one hand, and with

the other give plaintiffs a bag of tricks to overcome it.”’”). The fraudulent joinder standard in this

Circuit requires a party claiming fraudulent joinder to show that there is no reasonable possibility

the plaintiff could establish her claim. The Fifth Circuit has held that a mere hypothetical

possibility of recovery is insufficient:
Plaintiffs appear to argue that any mere theoretical possibility of recovery—no
matter how remote or fanciful—suffices to preclude removal. We reject this
contention. As the cited authorities reflect, there must at least be a reasonable
basis for predicting that state law would allow recovery in order to preclude a
finding of fraudulent joinder.

Badon v. RJR Nabisco Inc., 236 F.3d 282, 286 n.4 (5™ Cir. 2000) (Badon II) (emphasis in

original); see also Griggs v. State Farm Lloyds, 181 F.3d 694, 701 (5" Cir. 1999) (“[W]e must

determine whether there is any reasonable basis for predicting that Griggs might be able to

establish Blum’s liability on the pleaded claims in state court. . . .”) (emphasis in original). One

of the Fifth Circuit’s most recent fraudulent joinder cases confirms that a removing defendant

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need only show that there is no “reasonable possibility” the plaintiff can state a claim against the
fraudulently joined defendant. Travis v. Irby, 326 F.3d 644, 648 (5" Cir. 2003).

Merely pleading a cause of action against a party is insufficient to show that the plaintiff
has a reasonable possibility of recovery against that party. The Court is authorized to look
beyond the pleadings and engage in a summary judgment-type inquiry to determine whether
fraudulent joinder exists. Badon, 224 F.3d at 389-90 (“[W]e have consistently recognized that
diversity removal may be based on evidence outside the pleadings.”); Burden v. General
Dynamics Corp., 60 F.3d 213, 217 n.18 (5" Cir. 1995) (collecting cases that authorize court to
look beyond pleadings).

B. PLAINTIFFS' CLAIMS AGAINST DRS. JUBANG, HALE AND COLE ARE
BARRED BY THE STATUTE OF LIMITATIONS

A defendant is deemed fraudulently joined when the plaintiff's claim against that
defendant is barred by the applicable statute of limitations. See Ross v. Citifinancial, No. 02-
60608, slip. op. at 8-10 (5™ Cir. Aug. 29, 2003); Bain ex. rel. Bain, 167 F. Supp. 2d 932, 937
(E.D. Tex. 2001); Alter yv. Bell Helicopter, 944 F. Supp. at 531, 541 (S.D. Tex. 1996). In this
case, Plaintiffs' claims against Drs. Jubang, Hale and Cole are barred by the applicable two-year
statute of limitations:

Notwithstanding any other law, no health care liability clam may be commenced

unless the action is filed within two years from the occurrence of the breach or

tort or from the date the medical or health care treatment that is the subject of the

claim or hospitalization for which the claim is made is completed.

TEX. REV. CIV. STAT. ART. 4590i, § 10.01 (emphasis added). This statute imposes an absolute

two-year limitations bar, subject only to an “Open Courts” exception which is not applicable

here for the reasons set out below. Plaintiffs’ claims against Drs. Jubang, Hale and Cole are

' Travis makes clear that the “no possibility” standard of Heritage Bank v. Redcom Laboratories, Inc., 250 F.3d
319, 323 (5™ Cir. 2001) and other cases contains an implicit requirement of reasonableness—i.e., that standard
means that a remote, or speculative or hypothetical possibility of recovery is not enough.

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Case 3:03-cv-0224a Document 1. Filed 09/30/03 Pp 12 of 37 PagelD 12

based upon Drs. Jubang, Hale and Cole's prescription of the diet drugs to Plaintiffs. The drugs,
however, were withdrawn from the market in September, 1997, so Drs. Jubang, Hale and Cole
could not have prescribed them after that date. Thus, the statute of limitations started running, at
the latest, in September, 1997 and expired in September, 1999. Plaintiffs did not file suit until
May, 2003, over five years after the latest date Drs. Jubang, Hale or Cole could have prescribed
the drugs, and over three years after the statute of limitations expired.

Plaintiffs argue that Drs. Jubang, Hale and Cole cannot assert a statute of limitations
defense because of the discovery rule, the Open Courts doctrine and Drs. Jubang, Hale and
Cole’s alleged fraudulent concealment. As set forth below, these bald assertions do not allow
Plaintiffs to circumvent the two-year limitations period imposed by Article 45901.

1, The Discovery Rule Does Not Apply to Plaintiffs' Claims.

Plaintiffs attempt to avoid the applicable limitations period in this case by claiming that
the discovery rule applies to Plaintiffs' medical negligence claims. Petition, 67. Plaintiffs fail
to allege any facts regarding why their alleged condition was not and could not have been
discovered more than two years before Plaintiffs filed suit. Moreover, and most importantly, the
discovery rule does not apply to the limitations period on medical negligence claims. Section
10.01 of Article 4590i "imposes an absolute two-year statute of limitations regardless of when an
injured party learns of the injuries.” Jennings v. Burgess, 917 S.W.2d 790, 793 (Tex. 1996).
Further, when a claim against a physician is based on the physician’s prescribing a drug,
limitations runs from the date of last drug treatment. See Rowntree v. Hunsucker, 833 S.W.2d
103, 105 (Tex. 1992). Pondimin and Redux were withdrawn from the market in September of
1997, and Drs. Jubang, Hale and Cole could not have prescribed them after that date. Thus, the
statute of limitations on Plaintiffs' claims began to run no later than September, 1997. The

limitations period expired no later than September, 1999, more than three years ago.
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2. The Doctrine of Fraudulent Concealment Does Not Apply to
Plaintiffs’ Claims.

Fraudulent concealment is not a cause of action per se, but is an equitable doctrine that, in
the proper case, estops a defendant from relying on the statute of limitations. Bordelon v. Peck,
661 S.W.2d 907, 908 (Tex. 1983). “[P]roof of fraudulent concealment requires more than
evidence that the physician failed to use ordinary care; it also requires evidence that the
defendant actually knew the plaintiff was in fact wronged, and concealed that fact to deceive the
plaintiff.’ Earle v. Ratliff, 998 S.W.2d 882, 888 (Tex. 1999) (emphasis added). See also Shah v.
Moss, 67 S.W.3d 836, 841 (Tex. 2001) (elements of fraudulent concealment are that healthcare
provider 1) actually knew wrong occurred, 2) had fixed purpose to conceal wrong from plaintiff,
and 3) did, in fact, conceal wrong from plaintiff). Plaintiffs allege that Drs. Jubang, Hale and
Cole fraudulently concealed from Plaintiffs “the dangers of Pondimin and Redux.” Petition, J
78. Plaintiffs also allege that Drs. Jubang, Hale and Cole failed to advise Plaintiffs to undergo an
echocardiogram and cardiovascular exam. Petition, § 75. These allegations fail to plead the
necessary elements for fraudulent concealment.

Plaintiffs do not allege that Drs. Jubang, Hale and Cole knew that Plaintiffs were injured
from diet drugs, or that the physician intended to, or in fact, concealed any information in order
to deceive. In a recent opinion from the United States District Court for the Middle District of
Tennessee, Nashville Division, U.S. District Judge Aleta A. Tauger held that the physician’s
failure to advise the plaintiff to undergo testing or evaluation did not establish fraudulent
concealment. Constant v. Wyeth, et al., Cause No. 3:03-0052, April 9, 2003, at 6, attached as
Exhibit 1. The district court stated:

If there was no way for Dr. Johnson to know that, in fact, the plaintiff had been

injured by taking the drugs, there was no way for him to have misled, or

concealed that fact from, that plaintiff, and his remaining silent is of no
significance.
Case 3:03-cv-02246 Document 1 Filed 09/30/03 rp 14 of 37 PagelD 14

Td.

The MDL Court has held, even more recently, that allegations of mere negligence do not
establish fraudulent concealment. See Memorandum and Pretrial Order No. 2876 entered May
29, 2003 in In Re: Diet Drugs, MDL Docket No. 1203, pp. 11-12, attached as Exhibit B. Judge
Bartle held that the plaintiffs’ claims against three non-diverse Utah physicians (which were filed
more than one year before Plaintiff here filed her claim) were barred by Utah’s statute of repose
(which gave the plaintiffs four years to file suit, or twice as long as article 45901). Although
Utah’s statute of repose contains an exception for fraudulent concealment, that exception was not
invoked, Judge Bartle held, by the plaintiffs’ allegations that the physicians failed to inform them
of the “extent of the dangers and risks and hazards associated with these products” and failed “‘to
provide truthful, accurate, timely, and adequate instructions and warnings.” Jd. Cf Earle, 998
S.W.2d at 888 (under Texas law, fraudulent concealment requires more than failure to use
ordinary care). Judge Bartle concluded there was “no reasonable basis in fact or colorable
ground supporting the claim against” the physicians, and denied plaintiffs’ motion to remand. In
sum, Plaintiffs own pleadings in this case demonstrate that the doctrine of fraudulent
concealment does not apply to Plaintiffs’ claims against Drs. Jubang, Hale and Cole.’

3. The Open Courts Exception to Article 4590i Does Not Apply to
Plaintiffs’ Claims.

Plaintiffs’ argument that the Open Courts exception allow Plaintiffs to avoid the
limitations period prescribed by Art. 4590(i) is unavailing. Under the Open Courts doctrine, “‘it
is incumbent on the party seeking to avoid limitations to plead facts” showing it was

“impossible” for Plaintiffs to have discovered the cause of action within two years. Rubalcaba v.

* In any event, fraudulent concealment only operates to toll limitations until the plaintiff discovers, or should have
discovered, the alleged fraud. See Santanna Nat. Gas Corp. v. Hamon Operating Co., 954 S.W.2d 885, 891 (Tex.
App.—Austin 1997, writ denied); Constant v. Wyeth, et al., Cause No. 3:03-0052, April 9, 2003, at 6, attached as
Exhibit 1. As set forth in this Notice, that date was 1997. See, infra, Section II.C.2.

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Kaestner, 981 S.W.2d 369, 373 (Tex. App.—Houston [1* Dist.] 1998, pet. denied). See also
O'Reilly v. Wiseman, 107 S.W. 3d 699, 707 (Tex. App.—Austin 2003, pet. denied) (“It is the
plaintiffs burden to show that the nature of the claim was impossible or exceedingly difficult to
discover and that she did not or could not have learned of the fact or injury within the two-year
period.”), attached as Exhibit 2. Only if the Plaintiffs meet that burden may the court then
“determine whether this restriction on the plaintiffs right to redress is reasonable when weighed
against the bases and purposes of the statute.” Id.

Plaintiffs have pled no facts to support the Open Courts argument. Heart valve
regurgitation is detectable by a simple, non-invasive procedure called an echocardiogram.
Plaintiffs have attached to Plaintiffs' Petition echocardiogram readings purportedly performed on
dates ranging from March 9, 2002 to November 23, 2002. As discussed below, however,
Plaintiffs were put on notice of the need for such a test in the fall of 1997 by the massive
publicity surrounding the withdrawal of Pondimin and Redux. Plaintiffs give no explanation for
ignoring the extensive publicity starting in 1997 that warned of the need for an echocardiogram
in former diet drug users who had no symptoms and also warned that diet-drug induced heart
valve injuries were often asymptomatic. Plaintiffs have failed to plead facts showing that such
discovery was impossible or exceedingly difficult, as is required to rely on the Open Courts
exception to Article 4590i.

Regardless of whether the widespread publicity discussed below put Plaintiffs on inquiry
notice, they cannot rely on the Open Courts provision for the additional reason that they waited

an unreasonable time after receiving actual notice of their alleged injury to file suit.
Case 3:03-cv-0224 Document 1 Filed 09/30/03 PQ 16 of 37 PagelD 16

4. Even if Fraudulent Concealment and the Open Courts
Exception Applied, Plaintiffs' Claims Are Still Barred by
Limitations.

Even if the doctrine of fraudulent concealment and the Open Courts exception did apply,
Plaintiffs’ claims are still barred by limitations. The doctrine of fraudulent concealment tolls
limitations only until a plaintiff learns of the cause of action, or, through exercise of reasonable
diligence, should have learned of the cause of action. See Shah, 67 S.W.3d at 841; Wilson v.
Rudd, 814 S.W.2d 818 (Tex. App—Houston [14 Dist.] 1991, writ denied) (citing Nichols v.
Smith, 507 S.W.2d 518, 519 (Tex. 1974) (“When fraudulent concealment is shown, the statute of
limitations is tolled until the right of action is discovered or should have been discovered.”)).
The estoppel effect ceases when a party learns of “facts, conditions, or circumstances which
would cause a reasonably prudent person to make inquiry, which, if pursued, would lead to
discovery of the concealed cause of action. Knowledge of such facts is in law equivalent to
knowledge of the cause of action.” Bordelon, 661 S.W.2d at 909 (citations omitted) (emphasis
added). Similarly, the Open Courts exception operates to toll limitations only until a plaintiff
knew or should have known of facts that would lead to the discovery of the cause of action. See
Helman vy. Mateo, 772 8.W.2d 64, 66 (Tex. 1989).

“A plaintiff is charged with knowledge of information that has been made public through
the media.” Winters v. Diamond Shamrock Chemical Co., 941 F. Supp. 617, 622 (E.D. Tex.
1996), aff'd, 149 F.3d 387 (5™ Cir. 1998), cert. denied, 526 U.S. 1034 (1999). As set out below,
a reasonably diligent plaintiff would have been aware by the end of 1997 of publicity linking diet
drugs to heart valve problems, would have obtained a diagnostic test, and, if in fact she suffered
any injury, would have discovered it at that time. Following the September, 1997 withdrawal of
Pondimin and Redux, the national as well as the local media inundated the public with

information regarding the withdrawal itself as well as the potential cardiac risks associated with
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those drugs. This same information conveyed by the media repeatedly urged diet drug users to
consult their physicians regarding these medications and their potential risks.

Winters involved a suit brought by a former nurse based on her alleged exposure to Agent
Orange in Vietnam. Judge Cobb of the Eastern District of Texas, Beaumont Division, granted
defendants’ motion for summary judgment based on their statute of limitations defenses. Judge
Cobb noted that the plaintiff should have been aware of the possible health effects of Agent
Orange exposure because she “was charged with this knowledge due to extensive publicity”
about these effects. Winters, 941 F. Supp. at 622. The district court examined the publicity
regarding Agent Orange and the class action settlement of these claims and determined that the
plaintiff should have been aware of the facts extensively covered by the media. Jd. The Fifth
Circuit recognized that under the Texas discovery rule the statute of limitations is tolled until the
plaintiff discovers, or through the exercise of reasonable care and diligence should have
discovered, the nature of her injury. However the Court noted that “discovery” does not mean
actual knowledge, but rather means “knowledge of facts which would cause a reasonable person
to diligently make inquiry to determine his or her legal rights.” Winters, 149 F.3d at 403.
“Under this interpretation, the tolling period may expire and the statute of limitations begin to
run before a plaintiff subjectively learns the ‘details of the evidence by which to establish [her]
cause of action.’” Jd. (citation omitted). The Court also noted: “The record is replete with
numerous newspaper articles and excerpts from television and radio reports” about the alleged
effects of Agent Orange. Jd. The Court discounted the plaintiffs testimony about what she
actually knew at the time, and found that the extensive media publicity “should have put Winters
on notice.” Jd. at 404.

In this case, Plaintiffs could have discovered their alleged injuries within the two-year

limitations period as a matter of law. United Klans of Am. v. McGovern, 621 F.2d 152, 154 (5™

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Cir. 1980); see also Hughes v. Vanderbilt Univ., 215 F.3d 543, 548 (6" Cir. 2000); Stutz Motor
Car of Am., Inc. v. Reebok Int'l, Ltd., 909 F, Supp. 1353, 1362 (C.D. Cal. 1995). The facts
surrounding the withdrawal of Redux and Pondimin from the market in September, 1997,
including the extensive surrounding publicity, discussed below, put persons who had used those
drugs on notice that they should consult a physician. Had Plaintiffs done so, there is no question
that they would have discovered at that time any injuries they might have sustained.

C. THE EXTENSIVE PUBLICITY IN 1997 TRIGGERED THE STATUTE OF
LIMITATIONS ON PLAINTIFFS' CLAIMS

1, Publicity Following the Withdrawal in September 1997
When Pondimin and Redux were withdrawn from the market on September 15, 1997,
Wyeth issued a press release stating that the company was withdrawing the drugs based on “new,

preliminary information regarding heart valve abnormalities in patients using these

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medications.” The press release detailed this new information:

On Friday afternoon, September 12, 1997, the FDA provided Wyeth-Ayerst with
new summary information concerning abnormal echocardiogram findings in
asymptomatic patients seen in five centers. These patients had been treated with
fenfluramine or dexfenfluramine for up to 24 months, most often in combination
with phentermine. Abnormal echocardiogram findings were reported in 92 of 291
subjects evaluated, including 80 reports of aortic regurgitation (mild or greater)
and 23 reports of mitral regurgitation (moderate or greater).*

The press release advised: “Patients who have used either of these products should contact their
physicians.”
In addition, Wyeth took out full-page advertisements in leading national and regional

newspapers announcing this decision. The advertisements stated again: ‘Patients who have used

> Wyeth Press Release, attached as Exhibit 3.
4
Id.

> Id.
11
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either Pondimin or Redux should contact their physicians.”° These ads led with a banner in large
print stating, “An Important Message To Patients Who Have Used Pondimin or Redux.” The ads
informed readers of new information concerning abnormal heart valve findings in patients
without symptoms who had taken Redux or Pondimin.’ The advertisement provided a toll-free
number for patients to call if they had any questions.

At the same time, Wyeth also sent a “Dear Health Care Provider Letter” to approximately
450,000 doctors and pharmacists informing them of the withdrawal and the potential association
of these medications with heart valve damage.® The letter stated that “patients will be advised to
contact their physicians.”®

The FDA also issued a press release on September 15, 1997, announcing the withdrawal

of Pondimin and Redux.!?

The FDA press release explained that the drugs were being
withdrawn based on echocardiogram findings in diet drugs users:
These findings indicate that approximately 30 percent of patients who were
evaluated had abnormal echocardiograms, even though they had no symptoms.
This is a much higher than expected percentage of abnormal test results."
The FDA also advised, “Users of these two products should contact their doctors to discuss their
treatment.”

These press releases and Wyeth’s newspaper advertisements led to massive publicity.

Reports about the withdrawal of Redux and Pondimin from the market led the major network

° An Important Message to Patients Who Have Used Pondimin or Redux, (newspaper ad), attached as Exhibit 4.
7
Id.

8 Letter from Marc Deitch, M.D., Senior Vice President, Medial Affairs, Wyeth, to Healthcare Providers (September
15, 1997), attached as Exhibit 5; see also Wyeth Press Release (stating that letter was mailed to approximately
450,000 health care providers), attached as Exhibit 6.

* Id. at Exhibit 5.
'° FDA Press Release (September 15, 1997) attached as Exhibit 7.
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Id.

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news shows on television.'? On September 15, 1997, Tom Brokaw began the NBC Nightly
News as follows:
Good evening. Two of the most popular diet drugs in America are off the market
tonight, recalled by their manufacturers after a wave of reports that they can bring
on heart problems. '*
Dan Rather also led with the story:
Good evening. Two diet drugs used by millions of Americans have been
withdrawn from sale nationwide. One is fenfluramine, half the diet drug
combination known as fen-phen for short. It sold under the brand name
Pondimin. Redux is the other drug yanked from the market. Federal health
officials finally concluded that the two pills among other things, may indeed
cause heart valve damage.'>
The morning shows on September 16, 1997, also prominently featured the withdrawal of
Pondimin and Redux and the possibility they could cause heart valve damage. Ann Curry on the
Today Show introduced an extensive story on the drugs as follows:
A serious warning from the Food and Drug Administration. If you are using two
popular diet drugs, stop. The drugs are being recalled because they could cause
heart problems.’
After the news report, the Today show hosts continued to discuss the story with weatherman Al
Roker. Roker reported that he had taken the diet drugs and lost 20 or 25 pounds. Katie Couric
replied, “So you might want to get an echocardiogram.”"
The CBS Morning News also prominently featured the withdrawal and the potential heart
problems. They began their report with this introduction:

Millions of overweight Americans are caught in a bind this morning now that the
nation’s two most popular diet drugs have been pulled from the market. Sales of

Wyeth is not endorsing the accuracy of any of the following news reports; it is merely documenting the extent of
publicity the drugs received.

* NBC Nightly News (NBC television broadcast, September 15, 1997), transcript attached as Exhibit 8.
'S CBS Evening News (CBS television broadcast, September 15, 1997), transcript attached as Exhibit 9.
'® Today (NBC television broadcast September 16, 1997), transcript attached as Exhibit 10.

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Redux and fenfluramine have been linked to serious heart problems and anyone
who has been taking the drugs is urged to see a doctor.'®

The CBS Morning News continued with an interview with the acting head of the FDA, as well as
Dr. Heidi Connolly from the Mayo Clinic, about the potential association between the drugs and
heart valve problems.!”

The withdrawal and potential heart valve problems were covered just as extensively in
the print media. On September 16, 1997, USA Today had a front-page story entitled “Diet
Drugs Pulled Off Market.””’ Two follow-up articles referencing the withdrawal of Pondimin and
Redux were published in USA Today on September 22, 1997.7!

The Washington Post also had a front-page story about the withdrawal of Redux and
Pondimin. The headline was “2 Diet Drugs Are Pulled Off Market” and the subheading read
“Health Concerns Grow After FDA Links Pills To Rare Heart Problem.”

On October 8, 1997, USA Today had a story on page D1 with the headline, “Study
Supports Diet Drug Recall.”*? The subheading of the article was “Early data turn up heart-valve
defects.”"* The article stated that after Redux and Pondimin were pulled from the market,
preliminary evidence suggested that the two drugs are “likely responsible for heart-valve

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defects.”*” Another article in USA Today a month later provided more information about

possible heart valve problems. The headline was “Study Supports Halting Sales of Two Diet

'8 CBS Morning News (CBS television broadcast, September 16, 1997), transcript attached as Exhibit 11.
19
Id.

0 Nanci Hellmich and Steve Sternberg, Diet Drugs Pulled Off Market, USA Today, September 16, 1997 at 1A,
attached as Exhibit 12.

*! Withdrawal of Drugs Leaves Dieters in Quandary, USA Today, September 22, 1997; Other Combinations Draw
Interest, USA Today, September 22, 1997, attached as Exhibit 13.

2 John Schwartz, 2 Diet Drugs Are Pulled Off Market, Washington Post, September 16, 1996, at Al, attached as
Exhibit 14.

3 Nanci Hellmich, Study Supports Diet Drug Recall, USA Today, October 8, 1997 at D1, attached as Exhibit 15.
4 Id.

5 Id.
14
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Drugs,” and it claimed that “[n]ew evidence from a government-funded study indicates that 25%

of patients who took popular diet drugs developed heart-valve problems.””°

2. The U.S. Government Warning in November 1997 that Former Users
Should Consult their Doctors

Any former users of Pondimin or Redux who had not already been put on at least inquiry
notice in September 1997, were then subject to further publicity in November of that year. On
November 14, 1997, the United States Department of Health and Human Services published
health recommendations for former users of Pondimin and Redux. That agency recommended
that all former users of diet drugs should see their physicians.”’ This recommendation led to
another massive wave of publicity.

On November 13, 1997, Tom Brokaw reported on the new recommendations for diet
drug users on the NBC Nightly News:

Another warning tonight for the millions of Americans who took the diet drugs

phen-fen. The government is urging all of them to see their doctors, even if they

feel fine. The drugs were pulled off the market in September after they were

shown to cause serious heart problems. The experts say the dieters should be

checked for any heart or lung problems.”
CBS broadcast a similar report, in which Dan Rather said:

Also tonight, a government warning to millions of users of the diet drug

combination known as fen-phen for short. The government says anyone who

used fen-phen, or even one of the two drugs, should be checked for possible heart

or lung damage.”

ABC carried the story the next day. The network’s World News Now began:

6 Nanci Hellmich, Study Supports Halting Sales of Two Diet Drug, USA Today, November 12, 1997 at 20A,
attached as Exhibit 16.

*7 “Cardiac Valvulopathy Associated with Exposure to Fenfluramine or Dexfenfluramine: U.S. Department of
Health and Human Services Interim Public Health Recommendations, November 1997” (MMWR, November 14,
1997; 46, 45: 1061-66), attached as Exhibit 17.

8 NBC Nightly News (NBC television broadcast, November 13, 1997), transcript attached as Exhibit 18.

?° CBS Evening News (CBS television broadcast, November 13, 1997), transcript attached as Exhibit 19.
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If you are a dieter who has tried fen-phen or Redux, there are new reasons to get
to a doctor. The government has intensified its warnings about the potential
effects of the drug, even for those who are now feeling fine. °
Good Morning America had a similar story."' CNN also reported that “If you’ve taken the diet
drugs phen-fen or Redux, health officials say you better see your doctor.”*? During this news
segment, Dr. Michael Friedman, acting commissioner of the FDA, said, “We know that—that
some individuals who have taken these diet medications have-have heart valves that are thick
and don’t function properly.”*? Also on CNN, on the same day, Joie Chen, co-anchor, said:
The government is warning anyone who used the diet drugs fen-phen or Redux
for any amount of time to see a doctor and get a physical exam, even if you feel
fine. This comes two months after the popular diet pills were pulled from the
market, due to suspected links with potentially deadly heart valve damage."
CNN Headline News also reported the government’s recommendations:
If you are one of the millions of Americans who turned to Phen/Fen or Redux to
lose weight, it is time to make an appointment with your doctor. In September,
both prescription drugs were pulled from the market because the key ingredient
was linked to heart valve damage. Today the government began recommending
that former users should have their hearts examined. They should get an
echocardiogram if symptoms are found. They should use antibiotics before
surgery or dental work if they have valve damage.”
CNN also carried the story multiple times on November 14, 1997.*°

The Washington Post published an article on the recommendations on November 14,

1997. The article, titled “Fenfluramine, Redux Dieters Are Urged to See Physicians,” stated,

°° World News Now (ABC television broadcast, November 14, 1997), transcript attached as Exhibit 20.

3! Good Morning America (ABC television broadcast, November 14, 1997), transcript attached as Exhibit 21.

» Early Prime (CNN television broadcast, November 13, 1997), transcript attached as Exhibit 22.

* Id.

** The World Today (CNN television broadcast, November 13, 1997), transcript attached as Exhibit 23.

> Headline News (CNN Headline News television broadcast, November 13, 1997), transcript attached as Exhibit 24.

°° See, CNN Headline News (CNN Headline News television broadcast, November 14, 1997), transcript attached as
Exhibit 25.

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“Ta]nyone who has ever used the two recently recalled diet drugs for any length of time should
see a physician and get a physical examination, the government said yesterday.”

3. Further Publicity in mid-1999

Not only were Plaintiffs placed on at least inquiry notice as early as the fall of 1997, but
in mid-1999, there was further publicity about the possibility of an injury related to Pondimin or
Redux sufficient to warn Plaintiff to seek the advice of a physician. In August 1999, over three
years before the filing of the instant action, a jury in Van Zandt County, Texas, awarded plaintiff
Debbie Lovett over $23 million in damages for injuries allegedly caused by her ingestion of
Pondimin. This verdict was extensively reported by the media. On August 6, 1999, CNN
covered the Lovett verdict, including in its coverage the fact that the Lovett case was “the first of
thirty-one hundred pending fen-phen cases.”*® The CBS Evening News with Dan Rather also
ran a story on the Lovett verdict, explaining not only the association between Pondimin and heart
valve damage, but also noting the withdrawal of the drug in 1997 and the verdict’s effect on the

thousands of other women who have taken the drug.”

4. The Extensive Information Publicized in Late 1999 through March
2000 Relating to a Nationwide Class Action Settlement

Less than two months later, another wave of massive publicity brought to the nation’s
attention, and did or should have brought to Plaintiffs' attention, the possibility of heart valve
injury associated with the use of diet drugs. The Nationwide Class Action Settlement (the
Settlement”) between Wyeth and users of Pondimin and/or Redux was tentatively approved by

the MDL Court, Judge Louis C. Bechtle presiding. In that Settlement, Wyeth agreed to pay

37 Associated Press, Fenfluramine, Redux Dieters Are Urged to See Physicians, Washington Post, November 14,
1997 at A24, attached as Exhibit 26.

38 CNN Headline News Second Watch (CNN Headline News television broadcast, August 6, 1999), transcript
attached as Exhibit 27; CNN Headline News (CNN Headline News television broadcast, August 6, 1999), transcript
attached as Exhibit 28.

* CBS Evening News (CBS television broadcast, August 6, 1999), transcript attached as Exhibit 29. See also NBC
Nightly News (NBC television broadcast, August 6, 1999), transcript attached as Exhibit 30.

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$3.75 billion—a virtually unprecedented sum. Not only was the Settlement highly publicized in
the local and national media, but an “elaborate and extensive plan of notice” was employed to
ensure that notice would reach as many of those affected by the settlement as possible, as Judge
Bechtle- explained in his subsequent opinion approving the Settlement as fair, reasonable and
adequate.*” The elaborate notice program approved by Judge Bechtle included a campaign — in
November 1999 and extending into January and February, 2000 — “employ[ing] sophisticated
media techniques designed to reach all class members.’ That campaign used television
messages that were broadcast 106 times over a period of five weeks on network television, and
were broadcast 781 times for six consecutive weeks on various cable networks.” The text of the
television message was as follows:

If you took the diet drug combination known as FenPhen or the diet drugs

Pondimin or Redux, you may have heart valve problems and not know it. As a

result of the proposed class action settlement, you could be eligible for free

medical testing and compensation. But you must act promptly. You must decide

whether to participate in this settlement by March 30, 2000. If you do nothing,

your legal rights will be affected. Call 1-800-386-2070 today.”

A summary notice was also published in the print media.** This notice appeared
repeatedly in several magazines, including Parade, People, Time, Ladies Home Journal,

Redbook, and Good Housekeeping.’ Banner ads were also developed for use on the Internet.*°

That notice was also published in national and local newspapers and in a variety of publications

“° See 2000 WL 1222042, at *35. The Settlement was first announced when a Memorandum of Understanding was
signed in October 1999. The final agreement was signed November 18, 1999 and tentatively approved by Judge
Bechtle on November 23, 1999. /d. at *5.

*" Td. at *35.
* See id.
8 See id. atn.11.

4 See id.; see also Official Court Notice: Attention Anyone Who Took “Fen-Phen,” Pondimin and/or Redux,
attached as Exhibit 31.

5 See 2000 WL 1222042, at *35 & n.12.

© See id. at *35.
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targeted to healthcare providers and pharmacists."’ In addition, notice was mailed to all
pharmacists and doctors who are likely to have prescribed Pondimin or Redux or treated patients
for complications resulting from their use. That package included, among other things, a

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“counter card” which pharmacists and physicians could display to alert patients about the

existence of the Settlement, with a toll-free number and website to contact for further
information.”

As MDL Judge Bechtle found in Pretrial Order No. 1415, “[t]he media program . . . was
highly successful,” in part because it was “greatly enhanced by the enormous publicity that has
surrounded the diet drugs involved in this litigation and the publicity of this Settlement.”*? In
fact, according to a media analysis, 97% of women between the ages of 25 and 54 viewed one or
more forms of televised or printed notice an average of ten (10) times. Almost 80% of women in
the same age group were exposed to the televised or printed notice a minimum of five (5)
times.*”

5. Any Injuries Sustained by Plaintiffs Could Have Been Determined

after Plaintiff Stopped Using these Diet Drugs, at least by September
1997.

Because of this massive publicity, Plaintiff was on at least inquiry notice by the fall of
1997 that they might have an injury related to Pondimin or Redux. Had they inquired at that
time, had they heeded the advice of Wyeth, the U.S. Government, numerous plaintiffs’ attorneys
and the national press, they would have consulted a physician and would have discovered any

injury. Heart valve injuries related to the use of Pondimin or Redux are not “latent.””' In other

47 Id. at **35-36.
48 Td. at *36.
9 Id.

°° Id. at *36 1.16.
>! Memorandum and Pretrial Order No. 2886 entered June 12, 2003, in Jn Re: Diet Drugs, MDL Docket No. 1203,
p. 7, attached as Exhibit A.

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words, persons who have heart valve injury associated with the use of diet drugs first experience
that injury, at the latest, shortly after their use of the drugs, not after the passage of several years.
This is the finding made by Judge Bechtle in connection with his approval of the Settlement. See
Brown v. American Home Products Corporation, In re: Diet Drugs (Phentermine,
Fenfluramine, Dexfenfluramine) Products Liability, 2000 WL 1222042 at *18. That finding was
made after an adversarial hearing at which the available medical evidence was argued on both
sides of this issue.” Indeed, in approving the Settlement over the objection of some Class
Members, the Court noted that, in the absence of the Settlement, Wyeth had a viable statute of
limitations defense against many claims, precisely because the injuries at issue are not “latent:”

Pondimin and Redux were withdrawn from the market in September 1997

accompanied by an unprecedented amount of publicity which effectively warned

diet drug users that they may have developed valvular lesions which could be

detected through non-invasive echocardiograms. Also, these lesions are not

latent. If they are going to occur, they are going to occur during drug use (or

shortly thereafter) and be demonstrable on echocardiogram.
Id. (emphasis added).

Moreover, in distinguishing the diet drug settlement from the problematic settlement
addressed in Amchem Products, Inc. v. Windsor, 521 U.S. 591, 628 (1997), the MDL Court
found that diet drug users had notice of the risks of injury from the diet drugs when Wyeth
withdrew them from the market in 1997. 2000 WL 1222042 at *39. The MDL Court further
contrasted the evidence in Amchem from the diet drug Settlement, explaining:

The instant class does not suffer from the same problems that exposure-

only class members suffered from in Amchem. In Amchem, the Court found that

class members could not fairly be bound by a settlement where some members

were unaware of their exposure to asbestos or where their potential injuries could

have a latency period of 30 to 40 years. Here, all class members are aware of their

exposure to Pondimin or Redux, which have been off the market since September

1997. In addition, the class members have a diagnosable condition that can be
detected through an echocardiogram.

2 See generally 2000 WL 1222042.
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Objectors argue that a "futures" problem similar to that in Amchem exists

here because issues regarding the latency and progression of VHD remain vague.

The clinical and epidemiological studies demonstrate--and all the experts agree--

that insofar as the use of fenfluramine or dexfenfluramine results in an increased

prevalence of valvular regurgitation, that regurgitation is detectable by

echocardiogram shortly after the patients discontinue use of diet drugs.

Conversely, there is no evidence that the use of the drugs results in any increased

risk of regurgitation that is "latent" and not detectable by today's sophisticated

echocardiographic technology.

2000 WL 1222042 at *46 (emphasis added).

Judge Bartle recently reiterated Judge Bechtle’s findings on latency in denying the
plaintiff's motion to remand in an Alabama case. Judge Bartle stated, “Since there is no latency
period between ingestion of Pondimin and any injury, plaintiff's injury at the latest commenced,
and thus the limitations period began to run, shortly after Pondimin went off the market in late
1997.”°? In reaching this result Judge Bartle relied upon Judge Bechtle’s order approving the

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settlement in which he determined that a number of studies confirmed “’that there was no
emergence of new disease after some latency period.’” Jd. (quoting PTO 1415 at 46).

6. Plaintiffs are Collaterally Estopped from Asserting that Diet Drug
Induced Heart Valve Regurgitation is a Latent Injury.

Plaintiff, as a Class Member of the Settlement, is bound by the doctrine of collateral
estoppel to accept the findings of the MDL Court, including the finding that diet drug related
heart valve injuries are not latent. See Mower v. Boyer, 811 S.W.2d 560, 563 (Tex. 1991).
Counsel for Wyeth and Class Counsel for the class members presented evidence and arguments
at an MDL Fairness Hearing on the question of whether there is a significant latency period
between the discontinuation of diet drug use and the onset of valve injury—and thus a “futures”
problem. The MDL Court fully considered, and the parties, including Objectors to the

Settlement, actually and fully litigated, this issue. Moreover, the MDL Court’s decision that

>3 Memorandum and Pretrial Order No. 2886 entered June 12, 2003, in In Re: Diet Drugs, MDL Docket No. 1203,
p. 7, attached as Exhibit A. (footnote omitted).

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there was no evidence to support the existence of a latency period was essential to the judgment.
As noted above, if diet drug injuries were latent, then the Settlement might have violated the
Supreme Court’s holding in Amchem disallowing class action injury settlements that have a
“futures” problem based on the latent development of injury after exposure. Accordingly, the
MDL Court’s finding of fact that there is no such “futures” problem, was an essential and
necessary finding that allowed the Court to approve the Settlement.

The issue having been litigated, decided and made an essential finding of the judgment
approving the Settlement, the doctrine of collateral estoppel precludes Plaintiffs from relitigating
that issue.’ Indeed, other courts have concluded that issues litigated at a class action fairness
hearing that are essential to the approval of a settlement cannot be relitigated in a subsequent
proceeding.”

Texas courts have consistently applied the doctrine of collateral estoppel to preclude
relitigation of issues. Under Texas law, collateral estoppel applies when:

(1) the facts sought to be litigated in the first action were fully and fairly litigated

in the prior action; (2) those facts were essential to the judgment in the first

action; and (3) the parties were cast as adversaries in the first action.

Mower, 811 S.W. 2d at 563 (citations omitted). Here, as discussed above, the latency issue was
actually litigated, was essential to the judgment approving the class settlement, and Wyeth (as a

proponent of the settlement) and Plaintiffs (through the objectors) were “cast as adversaries.”

Therefore, Plaintiffs are collaterally estopped from relitigating the issue of latency here. Jd.

4 See, e.g., Restatement (Second) of Judgments, § 27 (recognizing party is collaterally estopped from re-litigating
question of fact when identical issue has been actually litigated, submitted for determination and necessarily
decided); id. § 41(1) (“A person who is not a party to an action but who is represented by a party is bound by and
entitled to judgment as though he was a party. A person represented by a party who is: . . . (e) The representative of
a class of persons similarly situated, designated as such with the approval of the court, of which the person is a
member.”).

5 See, e.g., Golden v. Pacific Maritime Ass’n, 786 F.2d 1425, 1428 (9" Cir. 1986) (holding that class member’s suit
against class counsel barred by class action court’s implicit finding of adequacy of representation); Laskey v. Int'l
Union, United Auto., Aero & Agric. Implement Workers of Am., 638 F.2d 954, 956 (6" Cir. 1981) (same, noting
adequacy of representation “essential to approving the [class] settlement”); Thomas v. Albright, 77 F. Supp. 2d 114
(D.D.C. 1999), aff'd, 247 F.3d 260 (D.C. Cir.), cert. denied, 534 U.S. 951, 122 S. Ct. 347 (2001) (same).

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7. Other Federal Courts Have Determined that the Widespread Media
Coverage of the Withdrawal of the Diet Drugs and Ensuing Litigation
was Sufficient to Put Plaintiffs on Notice of their Claims.

Significantly, other federal courts have agreed that the widespread publicity surrounding
the withdrawal of diet drugs was sufficient to impute knowledge to diet drug plaintiffs about
their claims against health care providers as a matter of law. In the most recent decision by a
Texas federal district court, the United States District Court for the Western District of Texas,
Austin Division, denied the plaintiff's motion to remand in a case that was substantially identical
to the current case. Judge Sam Sparks held that the plaintiff had “no possibility of succeeding in
her claims against [the prescribing physician] in state court.” McCurdy v. Wyeth, Cause No. A-
03-CA-054-SS, February 14, 2003 at 8, attached as Exhibit 32.

Plaintiffs are charged with knowledge of facts made public through the media.

Wyeth’s evidence indicates a reasonably diligent plaintiff should have learned

facts about the risks to fen-phen users of heart valve problems, as well as facts

about the lack of noticeable symptoms of such problems, long before December

31, 2000 (two years before McCurdy filed her lawsuit).

Id. at 6-7 (emphasis added).

Similarly, the United States District Court for the Western District of Oklahoma has
found that diet drug plaintiffs’ claims are barred against physicians due to the statute of
limitations because the widespread media coverage of the diet drugs was sufficient to put
plaintiffs on notice of their claims. See Moseley v. Wyeth, Cause No. CIV-2-1120-M, September
13, 2002, at 5, attached as Exhibit 33 (“[T]he Court finds the widespread media coverage
surrounding the Phen-Fen diet drugs from September 1997 through February 2000 is more than
sufficient to impute knowledge to plaintiff about her claims against [her prescriber].”); see also
Order denying motion for reconsideration, attached as Exhibit 34; McKee v. Wyeth, Cause No.

CIV-2-1119-C, October 1, 2002, at 1-2, attached as Exhibit 35 (adopting Moseley reasoning in

concluding claims against prescribing physicians are barred by limitations); Stafford v. Wyeth,

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Cause No. CIV-2-1118-L, September 18, 2002, at 6, attached as Exhibit 36 (noting “massive
publicity surrounding Pondimin and Phen-fen” in holding claims against prescribing physician
barred by limitations); Harting v. Wyeth, Inc., et al., Cause No. CIV-03-379-F, April 23, 2003,
attached as Exhibit 37 (adopting Moseley, Stafford and McKee reasoning in concluding claims
against prescribing physicians are barred by limitations). The Eastern District of Oklahoma has
adopted the same reasoning. See Haggard v. Wyeth, Cause No. CIV-02-446-S, October, 8, 2002,
at 1-2, attached as Exhibit 38 (“This court finds that given the extensive and widespread media
coverage surrounding Phen-Fen diet drugs, Plaintiff had constructive knowledge of her claims
against Dr. Jackson more than two years prior” to filing suit.). While some Texas federal district
courts have reached a different result on this issue, e.g., Blasingame v. Wyeth, Cause No. CIV-
1:02-CV-745, (E.D. Tex. Jan. 7, 2003), Wyeth submits that the better-reasoned approach is
reflected in these attached orders.

In addition, Judge Harvey Bartle recently entered an order approving amendments to the
Nationwide Class Action Settlement. In that order, he found that:

[t]here has been an unprecedented amount of notice associated with the fen-phen

class action settlement such that these class members cannot legitimately assert
that they were unaware of the dangers that the diet drug posed.”

Recently, the United States District Court for the Middle District of Tennessee, Nashville
Division, found that the official court notice of the settlement received by the plaintiff in that
case put her on notice of possible injury from Fen-Phen use, thereby commencing the statute of
limitations. Constant v. Wyeth, et al., Cause No. 3:03-0052, April 9, 2003, at 7, attached as
Exhibit 1. The district court further determined that by waiting an additional year and nine
months to have medical testing done after receiving the official court notice of the settlement, the

plaintiff did not exercise reasonable care and diligence to discover her injury. /d.

°° Memorandum and Pretrial Order No. 2677 entered December 10, 2002 in In Re: Diet Drugs, MDL Docket No.
1203, p. 13, attached as Exhibit 39.

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In short, this is not a case in which an injury may develop years after exposure to the
allegedly toxic substance. It is, rather, a case in which the alleged injury had already occurred, if
at all, shortly after Plaintiff had stopped taking the diet drugs. The statute of limitations on
Plaintiffs' claims against Drs. Jubang, Hale and Cole started running no later than September
1997. Plaintiff unquestionably knew that they had ingested diet drugs. Because of the
withdrawal of the diet drugs from the market on September 15, 1997, and the accompanying
massive publicity, as well as the publicity relating to the U.S. Government’s warning that former
users of these diet drugs should obtain an echocardiogram, Plaintiffs knew or should have known
by the fall of 1997 of possible heart valve regurgitation associated with the ingestion of diet
drugs. The information triggering that notice was repeated again and again, not only in the fall
of 1997, but throughout the diet drug litigation. Most prominently, the publicity surrounding the
Lovett verdict in August 1999, and the publicity and notice campaign relating to the Settlement
from October 1999, through at least February 2000, cannot have failed to have put any
reasonable person on notice.

Accordingly, there is no reasonable possibility at this time that Plaintiffs could overcome
a statute of limitations defense by Drs. Jubang, Hale and Cole, and thus they are fraudulently
joined.

D. THE JOINDER OF THE CLAIMS OF MULTIPLE PLAINTIFFS IN ONE
PETITION IS AN EGREGIOUS MISJOINDER

Even if the Court should conclude that only some of these plaintiffs have fraudulently
joined their prescribing physicians, it should retain jurisdiction over these plaintiffs’ claims
rather than remand the entire case to state court. Diversity jurisdiction cannot be defeated by an
egregious misjoinder of claims. In re Benjamin Moore & Co., 309 F.3d 296, 298 (5" Cir. 2002)

(identifying possible misjoinder of plaintiffs as “feature critical to jurisdictional analysis”); see

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also Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353, 1360 (11" Cir. 1996) (“Misjoinder may
be just as fraudulent as the joinder of a resident defendant against whom a plaintiff has no
possibility of a cause of action.”), abrogated on other grounds, Cohen v. Office Depot, Inc., 204
F.3d 1069 (11™ Cir. 2000); Coleman v. Conseco, Inc., 238 F.Supp.2d 804, 817-18 (S.D. Miss.
2002) (denying motion to remand of otherwise diverse plaintiffs on ground that their claims had
been fraudulently misjoined with claims of non-diverse plaintiffs).

The joinder of the claims of these multiple plaintiffs in one petition is an egregious
misjoinder because the claims do not arise out of “the same transaction, occurrence, or series of
transactions or occurrences.” TEX. R. Civ. P. 40(a); FED. R. Civ. P. 20(a). Indeed, the MDL

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Court in the diet drug litigation has expressly held that individual plaintiffs’ “purchases and
ingestion of diet drugs” do not constitute “a series of transactions or occurrences which satisfy
Rule 20(a),” at least when the plaintiffs did not obtain the diet drugs from the same source. In
re: Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prod. Liab. Litig., 1999 WL
554584 at *4 (E.D. Pa. July 16, 1999). There is no reason to believe that the multiple plaintiffs
here obtained their diet drugs from the same source. Certainly, there is no allegation that they
did so. Nor do these claims appear to have anything else in common other than the bare
allegation that each of the plaintiffs ingested one of the diet drugs. The bundling of these claims
in one petition was an egregious misjoinder of claims, and the Court should therefore retain
jurisdiction over the claims of each plaintiff whom it finds has fraudulently joined his or her
prescribing physician.
E. PLAINTIFFS' FRAUDULENT JOINDER OF A NONDIVERSE DEFENDANT IS
PART OF A LARGER PATTERN OF ATTEMPTS WRONGFULLY TO
PREVENT WYETH FROM EXERCISING ITS REMOVAL RIGHTS

The history of the diet drug litigation has demonstrated that plaintiffs’ counsel will go to

extreme lengths to keep their cases out of federal court—and particularly far away from the

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MDL Court overseeing the nationwide Settlement in the Eastern District of Pennsylvania, the
Court most familiar with the complex medical and legal issues presented by the diet drug
litigation. Among only a few of the many examples:
e Some plaintiffs’ lawyers have sued local doctors who prescribed the diet drugs in
order to block diversity jurisdiction, while telling the doctors behind the scenes

that the plaintiff really has no intention of pursuing them.”’

e Some plaintiffs’ lawyers have sued local doctors who did not even treat
plaintiffs.*®

e Some plaintiffs’ lawyers have sued local pharmacies with no intention of pursuing
a judgment against them.°?

e Some plaintiffs’ lawyers have made deals with some diverse defendants not to
pursue them if they refuse to consent to Wyeth’s removal efforts.

In one case, the plaintiff named as a physician defendant an individual who was not even
a licensed physician in the State of Texas and who had never practiced medicine. See Original
Answer of Defendant, Imdad Jatoi, attached as Exhibit 49. Plaintiff here is following in these
footsteps by suing a physician against whom Plaintiff's claims are plainly time-barred.
Hl.

Co-Defendant's Consent To Removal

°7 See Short Dep. at 73 (deposition of doctor-defendant in Idaho case testifying plaintiff had called him when suit
was filed and said “not to worry about it,” because “as soon as they got the thing settled so they would stay in the
state of Idaho, or something, that we’d be dropped”), attached as Exhibit 40; Ditta Dep. at 31 (deposition of doctor-
defendant in Louisiana case testifying plaintiffs’ counsel told her she need not even retain a lawyer, because she was
not the target), attached as Exhibit 41. See also Order Denying Motion to Remand, Heimback v. A.H. Robins, et al.
CV 02-0347-S-BLW (finding that Dr. Short and Dr. Parra were fraudulently joined), attached as Exhibit 42;
Wakefield v. American Home Prods. Corp., CV 02-20164; MDL 1203 PTO 2687 (denying remand and finding “it is
clear the plaintiff had no intention of pursuing this action against Dr. Reyes.”), attached as Exhibit 43.

°8 See Hersh Aff. ¥ 5 (affidavit of Louisiana doctor sued by 145 plaintiffs, despite fact that he could identify only
one as former patient, attached as Exhibit 44; MDL 1203 PTO 2567 at 12-13, attached as Exhibit 45.

°° See Exhibit 46 (Congressional testimony of a pharmacist sued repeatedly, but ultimately always dismissed);
Exhibit 45 at 16-17.

® See Fishbein Decl. 5 (affidavit testifying to statements of one national defense counsel admitting to that effect),
attached as Exhibit 47; Huffer Aff. ¢ 14 & Attachment (affidavit reporting voicemail message by another defense
counsel refusing to consent in light of such agreement), attached as Exhibit 48; see also Exhibit 45 at 10.

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The consent of Drs. Jubang, Hale and Cole is not necessary since Drs. Jubang, Hale and
Cole are fraudulently joined. Jernigan v. Ashland Oil, Inc., 989 F.2d 812, 815 (5™ Cir.), cert.
denied, 510 U.S. 868 (1993).
IV.
Amount in Controversy
Plaintiff's own Petition establishes on its face that the amount in controversy in this diet
drug case exceeds $75,000, exclusive of interest and costs. Plaintiff alleges that she has suffered
severe injuries to her heart valves, and she seeks damages for past and future medical expenses;
past and future physical pain and mental anguish; past and future disfigurement and physical
impairment; loss of earnings in the past; loss of earning capacity in the future; loss of enjoyment
of life and diminished physical abilities; worry and anxiety; and all hedonic damages allowed by
law. Petition, | 80.
V.
Timeliness
This Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b) because it
is filed within thirty days of September 8, 2003 the date Wyeth received the petition.
VI.
Conclusion
Upon filing of this notice of the removal of this cause, written notice of the filing is being
given by Defendant to Plaintiffs and their counsel as required by law. A copy of the notice with
proof of service of it is attached hereto. A copy of this notice is also being filed with the Clerk of
the county court at law in which this cause was originally filed.
WHEREFORE, Wyeth prays that the above-styled action pending against it in the 192nd

Judicial District Court of Dallas County, Texas, be removed to this Honorable Court.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that the foregoing document was forwarded in the manner described
below to the following interested parties on this TA day of SZpe. 2003.

Via Certified Mail/Return Receipt Requested
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